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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                     CASE NO. 19-CR-20026

              Plaintiff,                       HON. GERSHWIN A. DRAIN
 v.

 SANTOSH REDDY SAMA,

           Defendant.
 ______________________________/

      UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION FOR
              COMPASSIONATE RELEASE (ECF No. 147)

       Santosh Sama exploited and abused the United States student visa program

 so that he and others could remain and work in the United States illegally. He did

 so by attending, and personally recruiting over 300 students to attend, the

 University of Farmington – a university he knew was engaged in an illegal pay-to-

 play scheme. Sama was the most prolific recruiter in this case and received in

 excess of $160,000 in profits for his and his associates’ efforts. He was sentenced

 to 24 months in prison.

       Sama began serving his current sentence on September 10, 2019. He now

 moves for compassionate release under 18 U.S.C. § 3582(c)(1)(A). His motion

 should be denied.

       Sama does not qualify for compassionate release. For starters, because Sama

 has not satisfied the mandatory exhaustion requirement in 18 U.S.C.
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 § 3582(c)(1)(A), the Court is barred from addressing his argument on the merits.

 United States v. Alam, ___ F.3d ___, No. 20-1298, 2020 WL 2845694 (6th Cir.

 June 2, 2020). Sama also does not satisfy the substantive requirements for

 compassionate release. “[T]he mere existence of Covid-19 in society and the

 possibility that it may spread to a particular prison alone cannot independently

 justify compassionate release.” United States v. Raia, 954 F.3d 594, 597 (3d Cir.

 2020). Although Sama’s heightened risk from Covid-19 based on his recent

 diabetes diagnosis qualifies as an “extraordinary and compelling reason” for

 release under § 1B1.13(1)(A) & cmt. n.1(A), Sama is not otherwise eligible for

 release. Sama’s offense make him a danger to the community, which precludes

 release under USSG § 1B1.13(2). And the § 3553(a) factors—which the Court

 must also consider under § 3582(c)(1)(A)—likewise do not support release

 because of the seriousness of this offense and the need to deter other foreign

 students who are contemplating engaging in similar conduct, especially given the

 media attention this case received.

       The Bureau of Prisons has also taken significant steps to protect all inmates,

 including Sama, from Covid-19. Since January 2020, the Bureau of Prisons has

 implemented “a phased approach nationwide,” implementing an increasingly strict

 protocol to minimize the virus’s spread in its facilities. Wilson v. Williams, ___

 F.3d ___, No. 20-3447, 2020 WL 3056217, at *2 (6th Cir. June 9, 2020). And the

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 Bureau of Prisons has assessed its entire population to determine which inmates

 face the most risk from Covid-19, pose the least danger to public safety, and can

 safely be granted home confinement. As of July 13, 2020, this process has already

 resulted in at least 6854 inmates being placed on home confinement. See BOP

 Covid-19 Website. At least 100 of those inmates are from the Eastern District of

 Michigan. Especially given the Bureau of Prisons’ efforts—and “the legitimate

 concerns about public safety” from releasing inmates who might “return to their

 criminal activities,” Wilson, 2020 WL 3056217, at *11—the Court should deny

 Sama’s motion for compassionate release.

                                    Background

       Santosh Sama is a citizen of India who first traveled to the United States in

 2014 on a temporary student visa known as an F-1 visa. (PSR ¶ 9). After attending

 multiple universities in the United States, Sama contacted the University of

 Farmington (an undercover university run by Agents of the U.S. Department of

 Homeland Security) and told the undercover Agent that he and his friends were

 just looking for a way to maintain status and were not interested in attending

 classes. (PSR at ¶ 16, 19, 20, 50) (Dkt. # 80 PgID 258-59). Sama enrolled in the

 University of Farmington and reached an agreement whereby he would receive

 $500 for every “student” he recruited. (Dkt. # 80 PgID 263-264). Neither he nor

 any of the students recruited by Sama attended classes at the University. (PSR ¶

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 18). Ultimately, Sama received profits – through a combination of tuition

 concessions and cash payments - in excess of one hundred and sixty thousand

 dollars from the University. (PSR at ¶19-27). Sama has no prior criminal history.

       On September 12, 2019, Sama was convicted of conspiracy to commit visa

 fraud and harbor aliens for profit, in violation of 18 U.S.C. § 371. This Honorable

 Court sentenced Sama to 24 months in prison, which represented a 13 month

 downward variance from the 37-46 month sentencing guideline range as calculated

 by the Court.

       Sama began serving his prison sentence on September 10, 2019, and is

 currently incarcerated at Moshannon Valley Correctional Institution. He is 29 years

 old, and his projected release date is October 12, 2020. Sama now claims that he

 suffers from diabetes, hyperlipidemia (high cholesterol) and hepatitis. However,

 none of those medical conditions were raised at sentencing or included in the PSR.

 (PSR ¶ 48). In fact, as of July 11, 2019, Sama denied any history of underlying

 medical conditions including diabetes and hypertension. (Exhibit 1).

 Nevertheless, Sama has moved for compassionate release, citing his newly

 diagnosed medical conditions, his spouse and mother’s medical conditions, and the

 Covid-19 pandemic. Notably, as of July 13, 2020, there are zero (0) reported cases

 of Covid-19 among the inmates and staff at the Moshannon Valley Correctional

 Institution. https://www.bop.gov/coronavirus/

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                                      Argument

 I.    The Court should deny Sama’s motion for compassionate release.

       Sama’s motion for a reduced sentence should be denied. A district court has

 “no inherent authority . . . to modify an otherwise valid sentence.” United States v.

 Washington, 584 F.3d 693, 700 (6th Cir. 2009). Rather, a district court’s authority

 to modify a defendant’s sentence is “narrowly circumscribed.” United States v.

 Houston, 529 F.3d 743, 753 n.2 (6th Cir. 2008). Absent a specific statutory

 exception, a district court “may not modify a term of imprisonment once it has

 been imposed.” 18 U.S.C. § 3582(c). Those statutory exceptions are narrow.

 United States v. Ross, 245 F.3d 577, 586 (6th Cir. 2001). Compassionate release

 under 18 U.S.C. § 3582(c)(1)(A) is equally narrow.

       First, compassionate release requires exhaustion. If a defendant moves for

 compassionate release, the district court may not act on the motion unless the

 defendant files it “after” either completing the administrative process within the

 Bureau of Prisons or waiting 30 days from when the warden at his facility received

 his request. 18 U.S.C. § 3582(c)(1)(A); United States v. Alam, ___F.3d ___, No.

 20-1298, 2020 WL 2845694, at *1 (6th Cir. June 2, 2020). And as the Sixth Circuit

 recently held, this statutory exhaustion requirement is mandatory. Alam, 2020 WL

 2845694, at *1–*4.




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       Second, even if a defendant exhausts, he must show “extraordinary and

 compelling reasons” for compassionate release, and release must be “consistent

 with” the Sentencing Commission’s policy statements. 18 U.S.C. § 3582(c)(1)(A).

 As with the identical language in § 3582(c)(2), compliance with the policy

 statements incorporated by § 3582(c)(1)(A) is mandatory. See Dillon v. United

 States, 560 U.S. 817 (2010); United States v. Jackson, 751 F.3d 707, 711 (6th Cir.

 2014). To qualify, a defendant must have a medical condition, age-related issue,

 family circumstance, or other reason that satisfies the criteria in USSG

 § 1B1.13(1)(A) & cmt. n.1, and he must “not [be] a danger to the safety of any

 other person or to the community,” USSG § 1B1.13(2).

       Third, even if a defendant is eligible for compassionate release, a district

 court may not grant the motion unless the factors in 18 U.S.C. § 3553(a) support

 release. 18 U.S.C. § 3582(c)(1)(A); USSG § 1B1.13. As at sentencing, those

 factors require the district court to consider the defendant’s history and

 characteristics, the seriousness of the offense, the need to promote respect for the

 law and provide just punishment for the offense, general and specific deterrence,

 and the protection of the public. 18 U.S.C. § 3553(a).




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       A.     Binding authority prohibits the Court from granting release,
              because Sama has not satisfied the statutory exhaustion
              requirement.

       The Court must dismiss Sama’s motion, because he has not satisfied the

 exhaustion requirement for compassionate release under 18 U.S.C.

 § 3582(c)(1)(A). Until recently, only the Bureau of Prisons could move for

 compassionate release. The First Step Act of 2018 amended the statute, permitting

 defendants to move for it too. First Step Act § 603(b), Pub. L. No. 115-319, 132

 Stat. 5194, 5239 (Dec. 21, 2018).

       But the provision permitting a defendant-initiated motion includes an

 exhaustion requirement. Id. A district court may not grant a defendant’s motion for

 compassionate release unless the defendant files it “after” the earlier of (1) the

 defendant “fully exhaust[ing] all administrative rights to appeal a failure of the

 Bureau of Prisons to bring a motion on the defendant’s behalf,” or (2) “the lapse of

 30 days from the receipt of such a request by the warden of the defendant’s

 facility.” 18 U.S.C. § 3582(c)(1)(A); United States v. Alam, ___F.3d ___, No. 20-

 1298, 2020 WL 2845694, at *2 (6th Cir. June 2, 2020). As the Sixth Circuit

 recently held in Alam, this statutory exhaustion requirement is “a mandatory

 condition” that “must be enforced” when the government raises it. Id. at *1–*4;

 accord United States v. Raia, 954 F.3d 594, 595–97 (3d Cir. 2020).




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        Section 3582(c)(1)(A) also means that an inmate may not move for

 compassionate release on a different ground than the one he raised during the

 administrative process. The whole point of § 3582(c)(1)(A)’s exhaustion

 requirement is to ensure that the Bureau of Prisons has the opportunity to evaluate

 and consider an inmate’s request first, while allowing the inmate to seek relief in

 court if the Bureau of Prisons denies or fails to act upon the request. Alam, 2020

 WL 2845694, at *4. So when “the factual basis in the administrative request and

 the motion before the court are different, a defendant does not satisfy the

 exhaustion requirement because he does not give the BOP an opportunity to act on

 the request before [he] brings his request to the courts.” United States v. Asmar,

 No. 18-20668, Order at 7–8 (E.D. Mich. June 5, 2020); accord United States v.

 Mogavero, No. 15-00074, 2020 WL 1853754, at *2 (D. Nev. Apr. 13, 2020)

 (“Proper exhaustion necessarily requires the inmate to present the same factual

 basis for the compassionate-release request to the warden.”); United States v.

 Jenkins, 2020 WL 1872568, at *1 (D. Neb. Apr. 14, 2020); United States v.

 Valenta, 2020 WL 1689786, at *1 (W.D. Pa. Apr. 7, 2020). An inmate seeking

 relief based on Covid-19 must first make that request to the Bureau of Prisons

 before seeking relief in court. See Alam, 2020 WL 2845694, at *4 (emphasizing

 the claim-specific nature of exhaustion).




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       Sama did not comply with § 3582(c)(1)(A)’s mandatory exhaustion

 requirement. On or about April 30, 2020, Sama filed an administrative request for

 compassionate release. Sama’s request was based only on the medical conditions

 of his wife and mother. On May 13, 2020, Sama’s request was denied. In the

 instant motion, Sama raises claims that have not yet been administratively

 exhausted, namely his own medical conditions and the Covid-19 pandemic. As a

 result, Sama’s motion for compassionate release should be dismissed for failure to

 exhaust. Alam, 2020 WL 2845694, at *5.

       B.     Sama is not eligible for compassionate release under the
              mandatory criteria in USSG § 1B1.13.

       Even if Sama had exhausted his administrative remedies, compassionate

 release would be improper. Compassionate release must be “consistent with

 applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.

 § 3582(c)(1)(A). Congress tasked the Sentencing Commission with “describ[ing]

 what should be considered extraordinary and compelling reasons for [a] sentence

 reduction” under § 3582(c)(1)(A), as well developing “the criteria to be applied

 and a list of specific examples” for when release is permitted. 28 U.S.C. § 994(t).

       Because the Sentencing Commission has fulfilled Congress’s directive in

 USSG § 1B1.13, that policy statement is mandatory. Section 3582(c)(1)(A)’s

 reliance on the Sentencing Commission’s policy statements mirrors the language

 governing sentence reductions under 18 U.S.C. § 3582(c)(2) for retroactive
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  guideline amendments. Compare § 3582(c)(1)(A) with § 3582(c)(2). When

  Congress uses the same language in the same statute, it must be interpreted in the

  same way. Marshall, 954 F.3d at 830. In both contexts, then, the Sentencing

  Commission’s restraints “on a district court’s sentence-reduction authority [are]

  absolute.” United States v. Jackson, 751 F.3d 707, 711 (6th Cir. 2014); accord

  Dillon v. United States, 560 U.S. 817, 830 (2010).

        The First Step Act did not change that. It amended only who could move for

  compassionate release under § 3582(c)(1)(A). It did not amend the substantive

  requirements for release. United States v. Saldana, No. 19-7057, 2020 WL

  1486892, at *2–*3 (10th Cir. Mar. 26, 2020); United States v. Mollica, No. 2:14-

  CR-329, 2020 WL 1914956, at *4 (N.D. Ala. Apr. 20, 2020). Section 1B1.13

  remains binding.

        Section 1B1.13 cabins compassionate release to a narrow group of non-

  dangerous defendants who are most in need. That policy statement limits

  “extraordinary and compelling reasons” to four categories: (1) the inmate’s

  medical condition; (2) the inmate’s age; (3) the inmate’s family circumstances; and

  (4) other reasons “[a]s determined by the Director of the Bureau of Prisons,” which

  the Bureau of Prisons has set forth in Program Statement 5050.50. USSG § 1B1.13

  cmt. n.1. Program Statement 5050.50 provides that an inmate may initiate a request

  for consideration under 18 U.S.C. 4205(g) or 3582(c)(1)(A) only when there are

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  particularly extraordinary or compelling circumstances which could not reasonably

  have been foreseen by the court at the time of sentencing.

        Here, Sama argues that the medical conditions of his spouse and mother are

  extraordinary and compelling circumstances and therefore justify compassionate

  release. But this information was included in the PSR and argued at sentencing by

  Sama as a basis to vary below the sentencing guidelines. (PSR ¶ 41, 44-45). In

  other words, the medical conditions of Sama’s wife and mother are not particularly

  extraordinary or compelling because the Court already knew about this information

  at the time it imposed its sentence.

        Moreover, The Covid-19 pandemic does not, by itself, qualify as the type of

  inmate-specific condition permitting compassionate release. The Bureau of Prisons

  has worked diligently to implement precautionary measures reducing the risk from

  Covid-19 to Sama and other inmates. See Wilson v. Williams, ___ F.3d ___, No.

  20-3447, 2020 WL 3056217, at *2, *8 (6th Cir. June 9, 2020). Thus, “the mere

  existence of Covid-19 in society and the possibility that it may spread to a

  particular prison alone cannot independently justify compassionate release,

  especially considering BOP’s statutory role, and its extensive and professional

  efforts to curtail the virus’s spread.” Raia, 954 F.3d at 597; cf. Wilson, 2020 WL

  3056217, at *11.




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        Sama also remains ineligible for compassionate release because he is a

  danger to the community. Section 1B1.13(2) only permits release if a “defendant is

  not a danger to the safety of any other person or to the community, as provided in

  18 U.S.C. § 3142(g).” It thus prohibits the release of violent offenders, including

  most drug dealers. See United States v. Stone, 608 F.3d 939, 947–48 & n.6 (6th

  Cir. 2010); United States v. Knight, No. 15-20283, 2020 WL 3055987, at *3 (E.D.

  Mich. June 9, 2020). It also bars the release of many other defendants. An

  evaluation of dangerousness under § 3142(g) requires a comprehensive view of

  community safety—“a broader construction than the mere danger of physical

  violence.” United States v. Cook, 880 F.2d 1158, 1161 (10th Cir. 1989) (per

  curiam). So even many “non-violent” offenders—such as those who have been

  involved in serial or significant fraud schemes—may not be released under

  § 3582(c)(1)(A). USSG § 1B1.13(2); see Stone, 608 F.3d at 948 n.7; United States

  v. Reynolds, 956 F.2d 192, 192 (9th Cir. 1992) (“[D]anger may, at least in some

  cases, encompass pecuniary or economic harm.”); United States v. Israel, No. 17-

  20366, 2017 WL 3084374, at *5 (E.D. Mich. July 20, 2017) (recognizing that

  “economic harm may qualify as a danger” foreclosing release).

        Adhering to § 1B1.13(2) is especially important given the current strain on

  society’s first responders and the rise in certain types of crime during the Covid-19

  pandemic. Police departments in many cities have been stretched to their limits as

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  officers have either contracted Covid-19 or been placed in quarantine. Some cities,

  including Detroit, have seen spikes in shootings and murders. Child sex predators

  have taken advantage of bored school-aged kids spending more time online.

  Covid-19-based fraud schemes have proliferated. There are real risks to public

  safety right now, and those risks will only increase if our community is faced with

  a sudden influx of convicted defendants.

        Sama is not eligible for compassionate release.

        C.     The factors in 18 U.S.C. § 3553(a) strongly weigh against
               compassionate release.

        Even when an inmate has shown “extraordinary and compelling reasons”

  and demonstrated that he is not dangerous, he is still not entitled to compassionate

  release. Before ordering relief, the Court must consider the factors set forth in 18

  U.S.C. § 3553(a) and determine that release is appropriate. See United States v.

  Knight, No. 15-20283, 2020 WL 3055987, at *3 (E.D. Mich. June 9, 2020) (“The §

  3553(a) factors . . . weigh against his request for compassionate release.”); United

  States v. Austin, No. 15-20609, 2020 WL 2507622, at *3–*5 (E.D. Mich. May 15,

  2020) (holding that the “[d]efendant’s circumstances do not warrant compassionate

  release . . . under 18 U.S.C. § 3553(a)”); United States v. Murphy, No. 15-20411,

  2020 WL 2507619, at *6 (E.D. Mich. May 15, 2020) (denying compassionate

  release because “the 18 U.S.C. § 3553(a) sentencing factors do not favor release”);

  see also United States v. Kincaid, 802 F. App’x 187, 188–89 (6th Cir. 2020)
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  (upholding a district court’s denial of compassionate release based on the

  § 3553(a) factors). So even if the Court were to find Sama eligible for

  compassionate release, the § 3553(a) factors should still disqualify him.

        Sama’s decision to conspire to harbor aliens and commit visa fraud is a

  serious offense, as indicated by Congress’s decision to authorize up to five years in

  prison for the offense. See 18 U.S.C. § 371; (PSR, ¶ 54). Specifically in this case,

  the F-1 student visa program is designed to promote and encourage foreign

  students to study at American institutions. Sama abused and exploited the program.

  He recruited others to the same. In exchange for finding and enlisting other

  students willing to commit fraud, Sama received more than $160,000 in profits and

  tuition credits. As a direct result of his actions, his recruited students—who were

  illegally working in the United States—deprived otherwise qualified individuals

  from obtaining employment or training.

        According to an SEVP summary issued by U.S. Immigration and Customs

  Enforcement in November 2016, 1.23 million foreign students were studying in the

  United States on student visas in 2016, and 8697 schools were certified to enroll

  international students. Maintaining Samas 24 month sentence will continue to act

  as a deterrence to any of the other one million other foreign students that are

  currently studying on student visas in the United States who may contemplate

  engaging in similar conduct.

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  III.   If the Court were to grant Sama’s motion, it should order a 14-day
         quarantine before release.

         If the Court were inclined to grant Sama’s motion despite the government’s

  arguments above, the Court should order that he be subjected to a 14-day

  quarantine before release.

                                     Conclusion

         Sama’s motion should be denied.

                                        Sincerely,

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     Dated: July 13, 2020




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                            CERTIFICATE OF SERVICE

        I hereby certify that on July 13, 2020, I electronically filed the foregoing

  paper with the Clerk of the Court using the ECF system which will send

  notification of such filing to the registered participants of the ECF system which

  will send notification of such filing to the registered participants of the ECF

  System as listed on the Court’s Notice of Electronic Filing.




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